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District of Delaware STRESS

In re RTI Holding Company LLC

 

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Case No. 20-12456 ( t (D4

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

Eversource Gas of Massachusetts
Name of Transferee

 

Name and Address where notices to transferee

should be sent:
P.O. Box 2025
Springfield, MA 01102

Phone: 413-784-2275
Last Four Digits of Acct #: 4001

 

Name and Address where transferee payments
should be sent (if different from above):

P.O. Box 2025

Springfield, MA 01102

Phone: _413-784-2275
Last Four Digits of Acct #:__—=— 4001

 

Bay State Gas dba Columbia Gas of MA

 

Name of Transferor

Court Claim # (if known):
Amount of Claim: $2,184.24
Date Claim Filed: 11/06/2020

Phone: 413-784-2275
Last Four Digits of Acct. #: 4001

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the

best of my knowledge and belie
[Maegan Td
By: Maryann ‘Teixeira, Agent

Transferee/Transferee’s Agent

Date:__ 11/18/2020

 

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.

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2W20DEK-8 PH12: 39
_ UNITED STATES BANKRUPTCY COURT \._ /
 

UNITED STATES
BANKRUPTCY COURT
DISTRICT OF DELAWARE
WILMINGTON DIVISION

# 93130 - GG

January 14, 20271
12:13:41

Transfer of Clai
1?—11962-CSS11
Debtor.: AEROGROUP INTERNATIONAL, INC.
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai
19-—-11842-LSS7
Debtor.: AS WIND DOWN, LLC
Trustee: David Carickhoff
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai'’
19-—-10318-LSS7
Debtor.: BEAVEX INCORPORATED
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai

20- 10156-—-MFW11
Debtor.: BL RESTAURANTS HOLDING, LLC
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai
16—10971—-KBO11
Debtor.: VRG LIQUIDATING, LLC
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai
1?7—129093-cCSs11
Debtor.: CHARMING CHARLIE LLC
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai
18-—-10587-MFW11
Debtor.: CLAIRE'S BOUTIQUES, INC.
Amount. : $26.00 CH
Check#.: 1775

 

Transfer of Clai
20—10417—-BLS11
Debtar.: COSI, INC.
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai
19—-12256-BLS11
Debtor.: DESTINATION MATERNITY CORPORAT
Amount. : $26.00 CH

Check#.: 1775

Transfer of Clai
20—12807-CSS11
Debtor.: FIC RESTAURANTS, INC.
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai_
18-—12241—-CSS11
Debter.: MATTRESS FIRM, INC.
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai
16—11454-K.JC11
Debtor.: MOVIESTOP, LLC
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai
15—10197—BLS11
Debtor.: RS LEGACY CORPORATION
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai
20-—-12456—JTD11
Debtor.: RTI HOLDING COMPANY, LLC
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai
18—-12545~—-MFW11
Debtor.: PGDI LIQUIDATING, INC.
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai
18—11805—JTD?7
Debtor.: SOUTHERN ISLAND STORES, LLC
Amount. : $26.00 CH
Check#.: 1775
 

 

Transfer of Clai
138-—-11145-LSS11
Debtor.: THE RELAY SHOE COMPANY, LLC
Amount. : $26.00 CH
Check#.: 1775

Transfer of Clai
20-—12168-CSS11
Debtor.: TOWN SPORTS INTERNATIONAL, LLC
Amount. : $26.00 CH

Check#.: 1775

Transfer of Clai
17-—11933-—KJIC11
Debtor.: VITAMIN WORLD, INC.
Amount. : $26.00 CH
Check#.: 1775

Total-—> $494.00

FROM: MARGARITA CAMPBELL
